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            IN THE UNITED STATES DISTRICT COURT FOR THE

                            DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                    8:09CR48
                              )
          v.                  )
                              )
ROBERTO CAMACHO-GUTIERREZ,    )              MEMORANDUM OPINION
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s motion

under 28 U.S.C. § 2255 to vacate, set aside or correct sentence

by a person in federal custody (Filing No. 166), the government’s

answer to defendant’s motion (Filing No. 175), and the brief of

the government in support of its answer to defendant’s motion

(Filing No. 176).       In addition, the government has filed an index

of evidence which consists of the affidavit of Mark Weber,

attorney for the defendant (Filing No. 177).

            The Court has previously found that defendant’s motion

was timely filed and directed the government to file its

response.    The defendant’s only ground is ineffective assistance

of counsel.    He claims that Mr. Weber forced him to enter the

plea of guilty, represented to him that his sentence would only

be forty-six months, and he further claims that Mr. Weber failed

to advise him that he would not be eligible for the comprehensive

drug treatment program available in the Bureau of Prisons and did

not advise him that he would lose his status in this country.
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           Mr. Weber’s response refutes each of these statements.

In addition, the Court has reviewed the petition to enter a plea

of guilty which was signed by defendant (Filing No. 87).                A Rule

11 hearing was held on May 27, 2009, at which time the defendant

entered a plea of guilty to Count I of the indictment.               The plea

was accepted; the plea agreement that the parties had entered

into was accepted; and sentencing was scheduled for August 14,

2009.

           In his plea agreement, which he signed on May 11, 2009

(Filing No. 88), he stated that he understood by entering his

plea of guilty that he was exposed to imprisonment of not less

than five years nor more than forty years.            In that agreement, he

further agreed that he should be held responsible beyond a

reasonable doubt for more than 500 grams but less than 2

kilograms of cocaine.     At the Rule 11 hearing held on May 27,

2009, the defendant acknowledged that he and his counsel had

reviewed the petition to enter a plea of guilty, that through the

interpreter, he reviewed each of the questions contained in the

petition, that he understood the questions, that the answers

contained in the petition were his answers, and that they were

true.   He further under oath acknowledged during that hearing

that he understood that he was facing a mandatory minimum

sentence of sixty months, and a maximum sentence of forty years.

His answers to those two questions contained in Question No. 13


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were written in Spanish as well as English.            In Question 34, he

answered “yes” to the question which asked:            “Are your plea of

guilty and the waivers of your rights made voluntarily and

completely of your own choice, free of any force or threats from

anyone?”    Question 40 asks: “Are you pleading guilty for any

reason other than the fact that you are guilty.”              His answer was

“no.”    Question 44 asked him whether he was guilty; he answered

“yes.”    There simply is no basis to his claim that he expected a

sentence other than sixty months, which was required by the

applicable statutes or that he was forced or coerced to enter a

plea of guilty.

            With respect to his complaints about the conduct of his

attorney, he admitted at the time of the Rule 11 hearing on May

27, 2009, that he was completely satisfied with the manner in

which his counsel had represented him, that his counsel had been

available to review the case with him, to review the evidence

that the government would use, that he reviewed with him his

right to trial by jury and his right to enter into plea

negotiations with the government.

            Mr. Weber in his affidavit (Filing No. 177-1) sets

forth that he and the defendant discussed in great detail the

options available to defendant.        He discussed with him whether

defendant should go to trial, and maintain that he was

“technically innocent” of the crimes with which he was charged,


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and risk getting a stiffer sentence, versus the plea offer of

sixty months, which would avoid the risk of losing at trial.

           Mr. Weber further states that the defendant was fully

advised of the sixty-month sentence and the deportation issues

and specifically that he had advised the defendant that he would

be deported after serving the sentence imposed in this case.                 He

further denies all of the claims of defendant that he ever

threatened or coerced the defendant in any manner in connection

with his decision to enter a plea of guilty.

           In view of defendant’s testimony and response to

questions of the Court during the Rule 11 hearing, the Court is

satisfied that the allegations of the defendant are without

merit, that he was fully advised of his rights, not only by Mr.

Weber but also by the Court, that at all times he was fully

satisfied with the manner in which he was being represented by

Mr. Weber, and that in no way had anyone ever coerced or

threatened him in any way that caused him to conclude to enter a

plea of guilty.    This testimony is all part of the record of the

hearing held on May 27, 2009.

           For the foregoing reasons, the Court finds the

defendant’s motion is without merit and it should be denied.                 A




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separate order will be entered in accordance with this memorandum

opinion.

           DATED this 1st day of February, 2011.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court




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